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     Bruce Locke (#177787)

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 4   916-719-3194
 5   Attorneys for Sharice Williams
 6                                    UNITED STATES DISTRICT COURT
 7                              EASTERN DISTRICT OF CALIFORNIA
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10   UNITED STATES,
                                                      No. 2:15-CR-185 TLN
11                            Plaintiff,

12                  v.                         STIPULATION AND ORDER TO

13   SHARICE WILLIAMS, et. al,.                CONTINUE THE STATUS CONFERENCE

14                            Defendant.       TO JANUARY 19, 2017 AT 9:30 A.M.

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20          IT IS HEREBY STIPULATED AND AGREED between the defendant, by and through

21   her undersigned defense counsel, and the United States of America, by and through its counsel,

22   Assistant U.S. Attorney Roger Yang, that the status conference presently set for December 1,

23   2016 at 9:30 a.m., should be continued to January 19, 2017 at 9:30 a.m., and that time under the

24   Speedy Trial Act should be excluded from December 1, 2016 through January 19, 2017.

25          The reason for the continuance is that defense counsel needs additional time to conduct
     investigation and review the discovery and discuss the proposed plea agreement with Ms.
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     Williams and to conduct plea negotiations. The discovery includes several video tapes. In
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     addition, the government provided the defense with information concerning a prior supervised
     release violation. The exclusion of time is also necessary to ensure continuity of counsel.

 2   Accordingly, the time between December 1, 2016 and January 19, 2017 should be excluded from

 3   the Speedy Trial calculation pursuant to Title 18, States Code, Section 3161(h)(7)(B)(iv) and

 4   Local Code T-4 for defense preparation. The parties stipulate that the ends of justice served by
     granting this continuance outweigh the best interests of the public and the defendants in a speedy
 5
     trial. 18 U.S.C. §3161(h)(7)(A). Mr. Yang has authorized Mr. Locke to sign this pleading for him.
 6

 7          Date: November 28, 2016                       /s/ Bruce Locke
                                                         BRUCE LOCKE
 8                                                       Attorney for Sharice Williams
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10
            Date: November 28, 2016                       /s/ Bruce Locke
11                                                       For ROGER YANG
                                                         Assistant United States Attorney
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14          IT IS SO ORDERED.
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            Dated: November 28, 2016
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                                                       Troy L. Nunley
17                                                     United States District Judge

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